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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re
                                                                      Chapter 11

    Lordstown Motors Corp., et al.,1                                  Case No. 23-10831 (MFW)

                                                                      (Jointly Administered)
                                                Debtors.
                                                                      Objection Deadline: Mar. 4, 2024, at 4:00 p.m. (ET)



              SUMMARY COVER SHEET OF SIXTH MONTHLY APPLICATION OF
               WHITE & CASE LLP FOR ALLOWANCE OF COMPENSATION AND
                 REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

    Name of Applicant:                                                     White & Case LLP

    Authorized to Provide Professional Services to:                        Debtors and Debtors-in-Possession

    Date of Retention:                                                     Effective June 27, 2023

    Period for Which Compensation and                                      December 1, 2023 –
    Reimbursement Are Requested:                                           December 31, 2023
    Total Amount of Compensation (100%):                                   $692,738.00

    Amount of Compensation Requested (80%):                                $554,190.40

    Amount of Compensation Held Back (20%):                                $138,547.60

    Amount of Expense Reimbursement Requested:                             $4,504.73

    Aggregate Amount to be Paid Under                                      $558,695.13
    Compensation Procedures Order:

This is a monthly fee application.



1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
       Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
       Ct., Farmington Hills, MI 48331.

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                                      MONTHLY FEE APPLICATIONS FILED

        (1)          (2)     (3)           (4)       (5)         (6)         (7)        (8)        (9)         (10)
                                                       Approved                Holdback            Total Approved
                               Requested
                                                    On Monthly Basis        On Monthly Basis      By Interim Order
     Date;     Period
                             Fees      Expenses      Fees      Expenses     Fees     Expenses     Fees      Expenses
      D.I.    Covered
   9/13/2023 6/27/2023 –
                         $2,296,617.00 $4,880.64 $1,837,293.60 $4,880.64 $459,323.40  $0.00   $2,296,617.00 $4,880.64
    D.I. 422  7/31/2023
  10/20/2023 8/1/2023 –
                         $1,923,539.00 $4,149.65 $1,538,831.20 $4,149.65 $384,707.80  $0.00   $1,923,539.00 $4,149.65
    D.I. 594  8/31/2023
  11/10/2023 9/1/2023 –
                         $1,313,604.00  $36.58   $1,050,883.20  $36.58   $262,720.80  $0.00   $1,313,604.00  $36.58
    D.I. 684  9/30/2023
  11/30/2023 10/1/2023 –
                         $1,654,153.00 $3,903.33 $1,323,322.40 $3,903.33 $330,830.60  $0.00       TBD         TBD
    D.I. 762 10/31/2023
   1/12/2024 11/1/2023 –
                          $989,463.00    $0.00    $791,570.40    $0.00   $197,892.60  $0.00       TBD         TBD
    D.I. 912 11/30/2023




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                                             SUMMARY OF TOTAL FEES AND HOURS
                                            BY ATTORNEYS AND PARAPROFESSIONALS


                     Name         Title       Year                    Areas of Expertise                     Hours     Rate         Fees
                                            Admitted
           He, Fan              Counsel     2007       Financial Restructuring & Insolvency (FRI) Practice    65.6   $1,310.00    $85,936.00
           Kampfner, Roberto    Partner     1995       Financial Restructuring & Insolvency (FRI) Practice    60.8   $1,590.00    $96,672.00
           Kaul, Sequoia        Associate   2018       Commercial Litigation Practice                         17.8   $1,060.00    $18,868.00
           Kim, Doah            Associate   2012       Financial Restructuring & Insolvency (FRI) Practice    26.3   $1,270.00    $33,401.00
           Mezei, Livy          Associate   2017       Financial Restructuring & Insolvency (FRI) Practice    11.8   $1,020.00    $12,036.00
           Padmanabhan, Aditi   Associate   2023       Commercial Litigation Practice                         13.5    $740.00      $9,990.00
           Strom, Peter         Associate   2021       Financial Restructuring & Insolvency (FRI) Practice    16.6     $960.00    $15,936.00
           Szuba, RJ            Associate   2017       Financial Restructuring & Insolvency (FRI) Practice    89.3   $1,140.00   $101,802.00
           Turetsky, David      Partner     2003       Financial Restructuring & Insolvency (FRI) Practice   114.2   $1,750.00   $199,850.00
           Yoo, Jade            Associate   2020       Commercial Litigation Practice                         28.6   $1,020.00    $29,172.00
           Zakia, Jason         Partner     1999       Commercial Litigation Practice                         50.9   $1,750.00    $89,075.00
           Grand Total                                                                                       495.4               $692,738.00




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               STATEMENT OF FEES AND HOURS BY PROJECT CATEGORY

               Cat. No.           Project Category Description           Total Hours     Total Fees
               B01        Asset Analysis, Sale & Disposition                      0.0          $0.00
               B02        Automatic Stay Issues                                   0.0          $0.00
               B03        Avoidance Actions & Other Asset Recovery                0.0          $0.00
               B04        Business Operations, Vendor & Utility Issues           10.9    $14,747.00
               B05        Case Administration                                     5.5     $6,469.00
               B06        Case Strategy                                           2.3     $3,698.00
               B07        Claims Administration & Objections                    108.5   $133,509.00
               B08        Corporate Advice & Board Meetings                       9.5    $13,941.00
               B09        Creditor Meetings & Statutory Committees                0.0          $0.00
               B10        Disbursement                                            0.0          $0.00
               B11        Discovery                                               0.0          $0.00
               B12        Exclusivity, Plan & Disclosure Statement              294.3   $425,596.00
               B13        Executory Contracts & Unexpired Leases                 30.6    $37,418.00
               B14        First Day Pleadings                                     0.0          $0.00
               B15        Hearings & Court Matters                                1.0     $1,606.00
               B16        Insurance Issues                                        3.5     $6,125.00
               B17        Litigation                                             25.4    $44,450.00
               B18        Nonworking Travel                                       0.0          $0.00
               B19        Professional Retention & Fees – W&C                     0.0          $0.00
               B20        Professional Retention & Fees – Other                   0.0          $0.00
               B21        Reports, Schedules & U.S. Trustee Issues                1.7     $2,183.00
               B22        Tax Issues                                              0.0          $0.00
               B23        Employee Issues                                         2.2     $2,996.00
                                     Grand Total                                495.4   $692,738.00




                                                        iv
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                                 EXPENSE SUMMARY


                              Description               Bill Amount
                              Deposition Transcripts       $4,469.73
                              Overtime Meals                  $35.00
                              Grand Total                  $4,504.73




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re
                                                                   Chapter 11

    Lordstown Motors Corp., et al.,1                               Case No. 23-10831 (MFW)

                                                                   (Jointly Administered)
                                                Debtors.
                                                                   Objection Deadline: Mar. 4, 2024, at 4:00 p.m. (ET)



          SIXTH MONTHLY APPLICATION OF WHITE & CASE LLP FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
    FOR THE PERIOD DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

             White & Case LLP (“White & Case”), counsel for the debtors and the debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases, hereby files this

sixth monthly application (this “Application”) for the period from December 1, 2023 to and

including December 31, 2023 (the “Compensation Period”) requesting (a) interim allowance and

payment of compensation for professional services to the Debtors in the amount of $554,190.40,

representing 80% of the $692,738.00 of fees earned by White & Case for professional services to

the Debtors during the Compensation Period, and (b) reimbursement of 100% of the actual and

necessary expenses incurred by White & Case during the Compensation Period in connection with

such services in the amount of $4,504.73.                        In support of this Application, White & Case

respectfully represents as follows:




1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
       Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
       Ct., Farmington Hills, MI 48331.


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                      JURISDICTION, VENUE AND PREDICATES FOR RELIEF

                      This Court has jurisdiction to consider this Application under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.). This

is a core proceeding under 28 U.S.C. § 157(b). Venue of the Chapter 11 Cases and this Application

is proper in this District under 28 U.S.C. §§ 1408 and 1409.

                      The predicates for the relief requested by this Application are sections 330 and 331

of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rule 2016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-2 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), and the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181] (the “Compensation Procedures Order”).

                                               BACKGROUND

                      On June 27, 2023 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Chapter 11 Cases are being jointly administered for procedural purposes only

pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their businesses and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. On July 11, 2023, the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed the official committee of unsecured creditors (the

“Creditors’ Committee”) for these Chapter 11 Cases. On September 7, 2023, the U.S. Trustee

appointed the official committee of equity security holders (the “Equity Committee” and




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collectively with the Creditors’ Committee, the “Committees”) for these Chapter 11 Cases. No

trustee or examiner has been appointed in these Chapter 11 Cases.

                      The Court has authorized the Debtors to retain and employ White & Case as their

lead bankruptcy counsel, effective as of the Petition Date, pursuant to the Order Authorizing the

Employment and Retention of White & Case LLP as Attorneys to the Debtors Effective as of the

Petition Date [Docket No. 175] (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate and reimburse White & Case in accordance with the terms and conditions

set forth in the Debtors’ application to retain White & Case, subject to White & Case’s application

to the Court.

                      On July 25, 2023, the Court entered the Compensation Procedures Order, which

provides, among other things, that each chapter 11 professional seeking interim compensation in

the Chapter 11 Cases may file an application (a “Monthly Fee Application”) for interim approval

and allowance of compensation for services rendered and reimbursement of expenses incurred

during the immediately preceding month and serve a copy of such Monthly Fee Application on

the Notice Parties (as defined in the Compensation Procedures Order). Then, each Notice Party

will have until 4:00 p.m. (prevailing Eastern Time) on the twentieth (20th) day after service of a

Monthly Fee Application to object thereto (the “Objection Deadline”). Upon expiration of the

Objection Deadline, the professional may file a certificate of no objection consistent with Local

Rule 9013-1(j) with the Court after which the Debtors are authorized to pay each professional an

amount equal to the lesser of: (i) 80 percent (80%) of the fees and 100 percent (100%) of the

expenses requested in the Monthly Fee Application; and (ii) 80 percent (80%) of the fees and 100

percent (100%) of the expenses not subject to an objection.




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                                          RELIEF REQUESTED

                      By this Application, in accordance with the Compensation Procedures Order, White

& Case requests payment in the aggregate amount of $558,695.13, which is equal to (a) 80% of

the $692,738.00 of fees earned by White & Case for professional services to the Debtors during

the Compensation Period; and (b) 100% of the $4,504.73 of actual and necessary expenses

incurred by White & Case during the Compensation Period in connection with its services to the

Debtors.

                                SUMMARY OF SERVICES RENDERED

                      Prior to filing this Application, White & Case reviewed its fees worked (which

totaled 625.3 hours and $852,868.00) and expenses incurred (which totaled $4,504.73). Following

that review, White & Case voluntarily elected to reduce its fees by 129.9 hours (~20.8%) and

$160,130.00 (~18.8%) prior to filing this Application. White & Case will not hereafter seek

payment for the fees that it has voluntarily reduced.

                      Attached hereto as Exhibit A is a detailed statement of White & Case’s hours

expended and fees earned during the Compensation Period. A summary of White & Case’s hours

expended and fees earned during the Compensation Period grouped by category (discussed below)

is in the summary cover sheets prefixed to this Application. The attorneys and paraprofessionals

who provided services to the Debtors during the Compensation Period are also identified in

Exhibit A and in the summary cover sheets. The services rendered by White & Case during the

Compensation Period are grouped into the categories set forth in Exhibit A and in the summary

cover sheets prefixed to this Application. The following is a brief narrative summary of the

services performed by White & Case professionals and paraprofessionals on behalf of the Debtors

during the Compensation Period, organized by category:



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No.     Category Name
        Brief Narrative Summary
B01 Asset Analysis, Sale & Disposition
        During the Compensation Period, White & Case billed no time to this project category.
B02 Automatic Stay Issues
        During the Compensation Period, White & Case billed no time to this project category.
B03 Avoidance Actions & Other Asset Recovery
        During the Compensation Period, White & Case billed no time to this project category.
B04 Business Operations, Vendor & Utility Issues
        During the Compensation Period, White & Case advised the Debtors with respect to
        various matters related to the Debtors’ remaining operations, including with respect to the
        potential repurchase of the Debtors’ previously-sold vehicles and related vehicle warranty
        and recall issues. White & Case advised the Debtors in seeking and obtaining court
        authorization [Docket No. 790] to repurchase vehicles from prior customers (including
        drafting the motion and proposed order). White & Case also advised the Debtors with
        respect to various matters related to various vendors.
B05 Case Administration
        During the Compensation Period, White & Case professionals and paraprofessionals
        worked on various matters related to the management of these Chapter 11 Cases, including
        responding to stakeholder inquiries and addressing and monitoring work in progress.
B06 Case Strategy
        During the Compensation Period, White & Case professionals advised the Debtors with
        respect to legal matters concerning strategy with respect to the Chapter 11 Cases, including
        analysis, formulating strategy to advance various aspects of the Chapter 11 Cases, and
        conferring with the Debtors and internally with respect to such matters.
B07 Claims Administration & Objections
        During the Compensation Period, White & Case attorneys advised the Debtors with respect
        to various matters concerning claims and the claims administration process, including
        assisting the Debtors and their professionals in their analysis of filed claims, reviewing and
        analyzing class proof of claim issues, and the preparation and filing of certain claims
        objections (as applicable). Furthermore, White & Case advised the Debtors in connection
        with certain potential claims, issues regarding the Ohio class action litigation claim and
        the potential resolution of same, and the SEC claim and the potential consensual resolution
        of same, each of which will likely impact the successful resolution of the Chapter 11 Cases.
        White & Case also advised the Debtors regarding director and officer indemnification


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        issues and the potential resolution of same. Lastly, White & Case advised the Debtors with
        respect to certain claim reserve issues.
B08 Corporate Advice & Board Meetings
        During the Compensation Period, White & Case professionals advised the Debtors with
        respect to certain corporate and board matters, including advising the Debtors at Board
        meetings and preparing materials in connection with such meetings. These efforts have,
        among other things, assisted the Debtors’ board of directors in remaining properly
        informed of the events of these Chapter 11 Cases, advised in connection with foregoing,
        and thereby in discharging their fiduciary duties.
B09 Creditor Meetings & Statutory Committees
        During the Compensation Period, White & Case billed no time to this project category.
B10 Disbursement
        During the Compensation Period, White & Case billed no time to this project category.
B11 Discovery
        During the Compensation Period, White & Case billed no time to this project category.
B12 Exclusivity, Plan & Disclosure Statement
        During the Compensation Period, White & Case continued to advise the Debtors in
        connection with issues concerning the Debtors’ chapter 11 plan and disclosure statement,
        including plan confirmation strategy matters, certain solicitation matters, and resolutions
        of plan issues raised by certain constituents. White & Case advised the Debtors in
        connection with responding to and attempting to resolve informal plan comments and
        objections, and met with the US Trustee and the Committees to discuss and work to resolve
        their plan issues. White & Case also began drafting and revising a memorandum brief in
        support of plan confirmation and the proposed order confirming the chapter 11 plan, as
        well as declarations in support of the plan. White & Case analyzed and reviewed various
        plan issues. Lastly, White & Case prepared and revised documents to be included in a
        forthcoming amendment to the Plan Supplement.
B13 Executory Contracts & Unexpired Leases
        During the Compensation Period, White & Case advised the Debtors on issues related to
        the Debtors’ executory contracts and unexpired leases. White & Case advised the Debtors
        with respect to issues concerning the Debtors’ assumption and/or rejection of executory
        contracts. Moreover, White & Case drafted and revised the Debtors’ motion to assume
        contracts and the contract assumption list. Furthermore, White & Case drafted and revised
        a motion to reject unexpired real property lease and abandonment of certain personal
        property.
B14 First Day Pleadings



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         During the Compensation Period, White & Case billed no time to this project category.
B15 Hearings & Court Matters
         During the Compensation Period, White & Case advised the Debtors in connection with
         certain elements of hearing preparation.
B16 Insurance Issues
         During the Compensation Period, the time White & Case billed to this project category
         primarily related to attempted resolutions of issues with the Debtors’ insurance carriers.
B17 Litigation
         During the Compensation Period, White & Case advised the Debtors regarding various
         pending litigation matters, including claims against Foxconn (including reviewing and
         analyzing Foxconn’s reply brief in support of their motion to dismiss), the impact to the
         Debtors of a potential resolution to the Delaware securities litigation, and chapter 11
         matters relating to the securities class actions against the Debtors (as well as efforts to
         resolve such class actions).
B18 Nonworking Travel
         During the Compensation Period, White & Case billed no time to this project category.
B19 Professional Retention & Fees – W&C
         During the Compensation Period, White & Case billed no time to this project category.
B20 Professional Retention & Fees – Other
         During the Compensation Period, White & Case billed no time to this project category.
B21 Reports, Schedules & U.S. Trustee Issues
         During the Compensation Period, White & Case billed minimal time to this project
         category.
B22 Tax Issues
         During the Compensation Period, White & Case billed no time to this project category.
B23 Employee Issues
         During the Compensation Period, White & Case billed minimal time to this project
         category.

                      White & Case attorneys and paraprofessionals billed a total of 495.4 hours for

which White & Case seeks compensation in connection with these Chapter 11 Cases during the



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Compensation Period. All services rendered by White & Case for which compensation is sought

pursuant to this Application were rendered solely to or on behalf of the Debtors. No payments

were received by White & Case from any other source for services rendered or to be rendered in

connection with these Chapter 11 Cases.

                                     ACTUAL AND NECESSARY EXPENSES

                         Attached as Exhibit B is a detailed statement of White & Case’s out-of-pocket

expenses incurred during the Compensation Period for $4,504.73. These expenses include

expenses for depositions of the Debtors’ Chief Executive Officer and Chief Financial Officer in

September in connection with the Foxconn motion to dismiss the Chapter 11 Cases (totaling

$4,469.73) and an overtime meal expense billed in accordance with White & Case’s expense

policy (totaling $35.00).

                                              VALUATION OF SERVICES

                         As noted above, the amount of time spent by each White & Case attorney and

paraprofessional providing services to the Debtors during the Compensation Period is set forth in

the summary cover sheets hereto. The rates reflected thereon are White & Case’s customary hourly

rates for work of this character. The reasonable value of the services rendered by White & Case

for which White & Case seeks compensation for the Compensation Period as attorneys to the

Debtors in these Chapter 11 Cases is $692,738.00. The blended rate for compensation requested

in this Application is approximately $1,398.2

                         In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the fees requested are fair and reasonable given (a) the complexity of these Chapter 11 Cases,




2      The blended rate is calculated by taking the total of fees included in this Monthly Fee Application and dividing by the total of
       hours included in this Monthly Fee Application, rounded to the nearest dollar.


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(b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under this title.

                      Although White & Case has made every effort to include all fees earned and

expenses incurred during the Compensation Period, some fees and expenses might not be included

in this Application due to delays caused by accounting and processing during the Compensation

Period. White & Case reserves the right to make further applications to this Court for allowance

of such fees and expenses not included herein. Subsequent fee applications will be filed in

accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the

Compensation Procedures Order. For similar reasons, some of the fees and expenses requested in

this Application may have been earned or incurred before the Compensation Period.

                                  CERTIFICATION OF COMPLIANCE

                      The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information, and belief, this Application complies with the

requirements of that Local Rule.

          WHEREFORE, White & Case requests allowance and payment of the aggregate amount

of $558,695.13, which is equal to (a) 80% of the $692,738.00 of fees earned by White & Case for

professional services to the Debtors during the Compensation Period; and (b) 100% of the

$4,504.73 of actual and necessary expenses incurred by White & Case during the Compensation

Period in connection with its services to the Debtors.

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Dated: February 13, 2024                      Respectfully submitted,

                                              /s/David M. Turetsky
                                              WHITE & CASE LLP
                                              Thomas E Lauria (admitted pro hac vice)
                                              Matthew C. Brown (admitted pro hac vice)
                                              Fan B. He (admitted pro hac vice)
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                                              Miami, FL 33131
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                                              Debtors-in-Possession




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